Case 1:20-cv-02702-RM-SKC Document 124 Filed 02/11/22 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                Magistrate Judge S. Kato Crews

  Civil Action: 20-cv-2702-RM-SKC                                  Date: February 11, 2022
  Courtroom Deputy: Amanda Montoya                    FTR – Reporter Deck-Courtroom C-201*

   Parties:                                                   Counsel:

   KATELYN SCHILLER,                                          Benjamin DeGolia
                                                              Matthew Cron
        Plaintiff,

   v.

   BOARD OF GOVERNORS OF THE COLORADO                         Skip Spear
   STATE UNIVERSITY SYSTEM, THE, et al.,                      Lauren Davison
                                                              Emely Garcia
        Defendant.


                                    COURTROOM MINUTES

  HEARING: STATUS CONFERENCE
  Court in session: 10:34 a.m.
  Court calls case. Appearances of counsel by telephone.

  Discussion held regarding the parties’ continued discovery issues related to the ESI search terms,
  also discussed at the January 5, 2022, telephonic discovery conference. The Plaintiff requests for
  the CSU Defendant to provide the ESI search terms. The CSU Defendant notifies the Court
  there were no ESI search terms used, but their General Counsel sent letters to CSU employees
  instructing them to turn over all information related to the Plaintiff.

  ORDERED: The parties shall confer over an ESI protocol and submit a proposed ESI Protocol
           to the Court, complete with identification of the custodians at CSU who systems
           would be searched and complete with proposed search terms on or before
           February 18, 2022.

  ORDERED: The CSU Defendant shall run searches based on the search terms contained within
           the ESI Protocol and produce the results to the Plaintiff within 21 days of the
           Court’s entry of the Order regarding the ESI Protocol.

  Discussion held regarding the Defendants’ concerns with the Plaintiff not providing the ESI
  results from the Plaintiff’s cell phone. Plaintiff states they have had technical difficulties
  downloading the information from the cell phone and continues to diligently work on solving the
  issue.
Case 1:20-cv-02702-RM-SKC Document 124 Filed 02/11/22 USDC Colorado Page 2 of 2




  ORDERED: The Plaintiff shall provide the Defendants their text messages at least one week
           before the scheduled Settlement Conference.

  HEARING CONCLUDED.
  Court in recess: 10:59 a.m.
  Total time in court: 00:25

  *To order transcripts of hearings, please contact either Patterson Transcription Company at (303)
  755-4536 or AB Litigation Services at (303) 629-8534.
